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UNITED sTATES DISTRICT eastman uis'ri=isc“r Oi= TN

WESTERN DISTRICT OF TEN ,E _
Eastern Division PWLWE\§ OpEN COURTZ

DATE: 8»¢9‘+-05
TEME:__M.:: vi iam

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-vs- Case No. 1 :05cr10055-001T

UNITED STATES OF AMERICA

DERRICK GOODMAN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Govemment, it is ORDERED that a detention hearing is set for
MONDAY, AUGUST 29, 2005 at 2:15 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, 1 l l
South Highland, Jackson, TN. Pending this hearing, the defendant Shall be held in custody by the
United States Marshal and produced for the hearing.

Date: August24, 2005 //---'_
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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

1lf not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1`)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3 l42(f) are present Subseetion (l) sets forth
the grounds that may be asserted only by the attorney for the govemrnent; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (8/85] Grder oi' Temporary Detentron

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 1:05-CR-10055 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

.l ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

